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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


STRIKE 3 HOLDINGS, LLC

             Plaintiff(s),

      V.                                              CASE NO. 18-10103
                                                      HON. LINDA V. PARKER

JOHN DOE SUBSCRIBER ASSIGNED
IP ADDRESS 71.227.18.132,

             Defendant(s).
                                        /

                                 ORDER OF DISMISSAL

      The Plaintiff having filed a Notice of Voluntary Dismissal [ECF No. 9] on May 28,

2018; Accordingly, the above-entitled action is DISMISSED WITHOUT PREJUDICE.


                                        s/Linda V. Parker
                                        Linda V. Parker
                                        United States District Judge

Dated: May 29, 2018

I hereby certify that a copy of the foregoing document was served upon counsel of record
on May 29, 2018, by electronic and/or ordinary mail.

                                        s/R. Loury
                                        Case Manager
